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         IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             -vs-                           )      No. 23-CR-57-GKF
                                            )
MORGAN COLE WOMACK,                         )
                                            )
                    Defendant.              )

                    UNOPPOSED MOTION TO CONTINUE
                     SCHEDULING ORDER DEADLINES

      COMES NOW, Morgan Cole Womack, by and through his attorney of record,

Craig M. Hoehns, and moves this Court for an Order continuing the current scheduling

order for a period of one month, and continuing the April 15, 2024 jury trial setting to

the May 20, 2024 trial docket. The United States of America does not oppose this

motion. In support of this motion the Defendant states as follows:

1.    On March 1, 2024, Mr. Womack was arraigned before the Honorable Judge

      Huntsman on a two-count indictment alleging drug conspiracy and possession

      of methamphetamine with intent to distribute. (Docs. 16, 20).

2.    Mr. Womack’s case is currently set for jury trial on April 15, 2024. (Doc. 19).

3.    An initial batch of discovery has been provided via USAfx to Mr. Womack for

      review. However, since disclosure of that discovery, Counsel has had

      considerable time restraints due to a busy calendar. Plea negotiations are ongoing

      and counsel believes this matter will be resolved through plea negotiations.
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4.    A continuance of the scheduling order and trial for a period of one (1) month should

      provide sufficient time for defense counsel to complete review of discovery, file

      any motions, negotiate a plea agreement if appropriate, and prepare for trial.

5.    The Speedy Trial Act gives this Court the discretion to “accommodate limited

      delays for case-specific needs.” Zedner v. United States, 547 U.S. 489, 499, 126 S.Ct.

      1976, 1984, 164 L.Ed.2d 749 (2006). The facts of this case justify an ends of

      justice determination that a continuance “outweigh[s] the best interests of the

      public and the defendant in a speedy trial.” United States v. Toombs, 574 F.3d 1262,

      1273 (10th Cir. 2009), citing18U.S.C.§ 3161(h)(7)(A).

6.    The denial of this motion would unreasonably deny Defendant Womack

      reasonable time necessary for effective preparation taking into account the

      exercise of due diligence by counsel. Effective preparation in a criminal case

      includes time necessary to reach a plea agreement acceptable to the Court and

      each of the parties. Negotiating a plea agreement is a legitimate part of criminal

      proceedings, as recognized by the Speedy Trial Act, 18 U.S.C. § 3161(h). Further,

      the Court can conclude the ends of justice served by granting this Motion

      outweigh the best interest of the public and the Defendant under 18 U.S.C. §

      3161(h)(7)(A).

7.    This motion is made in good faith and is not made for dilatory purposes.

8.    Granting this motion will not prejudice either party.

9.    The defendant submits that, for all the reasons mentioned above, the ends of justice
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      served by the requested continuance outweigh the interests of the public and the

      defendant in a speedy trial. The requested continuance would further the ends of justice

      by affording defendant the opportunity to effectively consult with his attorney regarding

      discovery of the case. Defendant agrees that any time encompassed by a continuance

      granted as a result of this request is excludable under the provisions of the Speedy Trial

      Act. 18 U.S.C. §3161(h)(7)(A).

10.   Counsel has conferred this motion with the counsel for the government,

      Assistant United States Attorney Adam Bailey. The government does not oppose

      this request to grant this motion.

11.   Mr. Womack has not previously requested any extension of time or continuance.

12.   Counsel states that based on the foregoing it is reasonable, necessary and proper

      to extend time to review outstanding discovery materials, complete a proper

      investigation of the defenses available to the defendant, and participate in further

      plea negotiations.

13.   Counsel states that the statutory and case law is clear that this Court has the

      discretion to enter the requested Order upon its findings that the ends of justice

      warrant and are served and that such actions outweigh any generic public interest

      in a speedy trial being held on April 2024 trial calendar.

                                     CONCLUSION

      WHEREFORE, the foregoing premises considered, undersigned counsel prays

this Court find that the interests of the defendant outweigh the speedy trial factors,
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stated above, that the delay tolls the speedy trial prohibitions, that the delay is necessary

in the exercise of due diligence of counsel to prepare a proper and adequate defense

and that it best serves the interest of justice, and that the scheduling order deadlines be

extended by a period of one month, and the trial date set for the April 15, 2024 trial

docket be stricken and this matter be placed on the May 20, 2024 trial docket.


                                                  Respectfully submitted,

                                                  s/ Craig M. Hoehns
                                                  Craig M. Hoehns
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2024, I electronically transmitted the attached

document to the Clerk of Court using the Electronic Case Filing System for filing. Based

on the records currently on file in this case, the Clerk of Court will transmit a Notice of

Electronic Filing to those registered participants of the ECF System.

                                                  s/ Craig M. Hoehns
                                                  Craig M. Hoehns
